

People v Rodriguez (2019 NY Slip Op 03625)





People v Rodriguez


2019 NY Slip Op 03625


Decided on May 8, 2019


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 8, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

WILLIAM F. MASTRO, J.P.
ROBERT J. MILLER
COLLEEN D. DUFFY
HECTOR D. LASALLE, JJ.


2016-06161

[*1]The People of the State of New York, respondent,
vAlexander Garcia Rodriguez, appellant. (S.C.I. No. 679/16)


Paul Skip Laisure, New York, NY (Rebecca J. Gannon of counsel), for appellant.
John M. Ryan, Acting District Attorney, Kew Gardens, NY (John M. Castellano, Johnnette Traill, and William H. Branigan of counsel; Victoria Randall on the brief), for respondent.



DECISION &amp; ORDER
Appeal by the defendant from a judgment of the Supreme Court, Queens County (Ernest Hart, J., at plea; Dorothy Chin-Brandt, J., at sentence), rendered May 16, 2016, convicting him of robbery in the third degree, upon his plea of guilty, and imposing sentence. Assigned counsel has submitted a brief in accordance with Anders v California (386 US 738), in which he moves for leave to withdraw as counsel for the appellant.
ORDERED that the judgment is affirmed.
Under the circumstances of this case, the brief filed by the defendant's assigned counsel pursuant to Anders v California (386 US 738) was sufficient because it addressed the essential issues in the case and, although the brief did not analyze the defendant's waiver of the right to appeal or the enforceability of the waiver, the enforceability or unenforceability of the defendant's waiver of the right to appeal makes no practical difference to the eventual Anders outcome (see People v Murray, 169 AD3d 227). Moreover, upon an independent review of the record, we conclude that there are no nonfrivolous issues which could be raised on appeal (see id.). Counsel's application for leave to withdraw as counsel is, therefore, granted (see Anders v California, 386 US at 744; People v Murray, 169 AD3d 227; People v Walker, 157 AD3d 726, 727).
MASTRO, J.P., MILLER, DUFFY and LASALLE, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








